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                          EXHIBIT R
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        From: Turbo's Aquatics Support <support@turbosaquatics.com>
           To: "chris@corellium.com" <chris@corellium.com>
          Cc: "support@turbosaquatics.com" <support@turbosaquatics.com>
      Subject: Re:[## 1043 ##] Turbo Algae Scrubber Ordering Information
         Date: 2018-09-11 17:07:09 -0400
   Importance: Normal


Hello Chris, thanks for contacting me

First things first: let's make sure this message doesn't end up in a junk/spam folder - Please reply to this message to let
me know you received it

Even if this message makes it directly into your Inbox, I highly recommend "whitelisting" this email address - refer to
the "Did you find this in a Junk or Spam folder?" link in my signature for link to step-by-step instructions

Bud Carlson
Turbo's Aquatics LLC

I don't run a junk/spam filter. If you are expecting a reply and don't get one in 48 hours (and it's not in your
junk/spam folder), shoot me another message!

Like & Follow Turbo's Aquatics on Facebook: https://www.facebook.com/Turbos.Aquatics/
Join the Turbo's Aquatics Facebook Support Group: https://www.facebook.com/groups/turbosaquatics/
Join the Algae Scrubbing Forum: https://www.algaescrubbing.com/

Did you find this in a Junk or Spam folder?
Please click here & read the appropriate thread for your email service: https://www.algaescrubbing.com/forums/site-announcements.18/

Sent from the Turbo's Aquatics Helpdesk & Support System
Unsubscribe from Turbo's Aquatics




  ---- On Mon, 10 Sep 2018 09:55:18 -0500 chris@corellium.com wrote ----

  Full Name: Chris Wade
  Forum User Name(s) & where used:cmw/cmwdotme
  Physical Address: 16 e ocean ave, ocean ridge FL 33435
  Phone Number (for shipping): 561-221-3899
  Preferred e-mail address: cmw@cmw.me
  Payment: Paypal
  Which size Algae Scrubber are you interested in? i.e. L2, L4, L8 or L16?
  L8
  What would you consider your priority level and/or need to be?
  1 / High
  A pump is not included, but I do stock Rio pumps - do you need one?
  No
  Mounting brackets are not included, but I now offer self-customizable mounting rails for
  $30/set - do you need a set of these?
  Yes
  I do offer a military discount. Are you a Veteran or Active Military?
  No
  How did you find out about Turbo's Aquatics?
  Forum
  Comments/questions?
  Looking forward to trying this out :)




                                                                                                                                       Correllium-002603
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Regards,

Chris Wade




                                                                          Correllium-002604
